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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  UNITED STATES OF AMERICA
                                                Case: 2:25−cr−20016
                                                Assigned To : Goldsmith, Mark A.
  v.
                                                Referral Judge: Grand, David R.
  HINO MOTORS, LTD.                             Assign. Date : 1/15/2025

                        Defendant.              VIOLATION: 18 U.S.C. § 371



                                 INFORMATION

       The United States Attorney’s Office for the Eastern District of Michigan and

the United States Department of Justice, Environment and Natural Resources

Division, Environmental Crimes Section, charge:

                                   COUNT ONE
            (18 U.S.C. § 371 – Conspiracy to Defraud the United States,
               to Violate the Clean Air Act, to Commit Wire Fraud,
                   and to Smuggle Goods into the United States)

                        INTRODUCTORY STATEMENT

       At times relevant to this Information:

       1.     Hino   Motors,   Ltd.   (“HML”),     was   a   Japanese   corporation,

headquartered in Hino, Tokyo, Japan, engaged in the manufacturing of commercial

vehicles and diesel engines. HML was a “Toyota Group Company” and subsidiary

of the Toyota Motor Corporation, which was its controlling shareholder and parent

company.
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      2.    Hino Motors Manufacturing U.S.A., Inc. (“HMM”), a Delaware

corporation headquartered in Novi, Michigan, was a wholly owned subsidiary of

HML, and a “Toyota Group Company.” HMM, among other things, assembled

diesel trucks with engines manufactured and imported to the United States by HML,

and then sold the trucks through, among others, Hino Motor Sales U.S.A., Inc.

(“HMS”). HMM also provided service and support to U.S. customers and HMS,

including, among other things, engineering support for engine malfunctions and

onboard diagnostic monitor issues.

      3.    HML, by and through its employees, and others, conspired to, among

other things, defraud the United States, violate the Clean Air Act by submitting

fraudulent documents, to commit wire fraud, and unlawfully import and sell over

105,000 non-conforming heavy-duty diesel engines into the United States, for a total

pecuniary gain of approximately $1,087,000,000.

               STATUTORY AND REGULATORY BACKGROUND

      4.    The Clean Air Act and its implementing regulations (collectively, “the

Clean Air Act”) were designed to protect human health and the environment by,

among other things, reducing emissions of pollutants including nitrogen oxides

(“NOx”) from new motor vehicles.

      5.    The Clean Air Act required the U.S. Environmental Protection Agency

(“EPA”) to promulgate emissions standards for new motor vehicles and engines.



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EPA established standards and test procedures for heavy duty diesel engines,

including emission standards for NOx.

      6.     The Clean Air Act prohibited manufacturers of new motor vehicle

engines from selling, offering for sale, introducing or delivering for introduction into

commerce, or importing (or causing the foregoing with respect to) any new motor

vehicle engine unless the engine complied with emissions standards, including NOx

emissions standards, and EPA issued a certificate of conformity (“CoC”) for that

specific model year (“MY”) engine as required by the Clean Air Act and federal

regulations implementing the Clean Air Act.

      7.     To obtain a CoC, applicable regulations required manufacturers, such

as HML, to submit an application to EPA for each MY and for each test group of a

vehicle engine that it intended to sell in the United States. Applicable regulations

further required the application to be in writing, to be signed by an authorized

representative of the manufacturer, to include the results of testing done pursuant to

the published Federal Test Procedures that measure NOx emissions, and to contain

descriptions of the engine, emissions control system, and fuel system components,

including a detailed description of each Auxiliary Emission Control Device

(“AECD”) installed in the engine.

      8.     In addition, in the case of heavy-duty diesel engines, applicable

regulations required manufacturers to test engine emissions themselves pursuant to



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established protocols and report the emissions test data in their applications,

certifying that the emissions were below the standard. Deviations from any protocols

required approval from EPA.

      9.     Manufacturers also were required to show that a heavy-duty diesel

engine met emissions standards throughout its “full useful life” in their CoC

applications. To do this, the regulations mandated manufacturers to conduct

durability testing in which they simulated engine aging by running the heavy-duty

diesel engine on a dynamometer for hundreds of hours and then to extrapolate the

emissions results to predict emissions at the engine’s end of useful life.

      10.    Applicable regulations authorized the use of carryover data if no

significant changes had been made to the engine since the prior year’s application.

However, to rely on such, manufacturers were required to affirm that all

submissions, including carryover data, were truthful and accurate upon submission

to EPA.

      11.    In 2010, EPA updated its engine-testing procedure regulations and

required, among other things, testing to be conducted in accordance with the detailed

requirements set forth in 40 C.F.R. Part 1065.

      12.    Regulations define an AECD as “any element of design which senses

temperature, vehicle speed, engine RPM, transmission gear, manifold vacuum, or

any other parameter for the purpose of activating, modulating, delaying, or



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deactivating the operation of any part of the emission control system.” In addition to

listing all AECDs, manufacturers were required to include a justification for each

AECD. If EPA, in reviewing the application for a CoC, determined that the AECD

“reduced the effectiveness of the emission control system under conditions which

may reasonably be expected to be encountered in normal vehicle operation and use,”

and that (1) those conditions were not substantially included in the Federal Test

Procedure, (2) the need for the AECD was not justified for protection of the vehicle

against damage or accident, (3) the AECD went beyond the requirements of engine

starting, or (4) the AECD applied to engines other than those that will be installed in

emergency vehicles, then EPA would consider the AECD a “defeat device.”

      13.    Applicable regulations mandated that engine manufacturers such as

HML report truthful and complete information and provided for potential criminal

consequences for failing to meet this obligation. 40 C.F.R. § 1065.2. Beginning in

2016, EPA transitioned to an electronic filing system which required the following

certifications/attestations: (1) “I unconditionally certify that this test group/engine

family/vehicle family/evaporative family complies with the requirements of its

corresponding parts, other referenced parts of the CFR and the Clean Air Act”; and

(2) “I certify, under penalty of law that the information provided in this document

is, to the best of my knowledge and belief, true, accurate, and complete. I am aware

that there are significant penalties for submitting false information, including the



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possibilities of fines and imprisonment for knowing violations.”

      14.    Regulations made clear that engines were not covered by a CoC unless

they were configured in the manner described in the application.

      15.    In the absence of a valid CoC, a manufacturer could not import an

engine into the United States or sell motor vehicle engines in the United States.

      16.    EPA also required vehicle engines to comply with federal emissions

standards throughout their useful lives and established procedures for testing the

emission-control systems of vehicles in “actual use.” 42 U.S.C. 7541(b). Regulations

required manufacturers to perform such testing and report the results to EPA. See 42

U.S.C. 7542(a). If EPA determined that a substantial number of in-use vehicles of a

particular model exceeded federal emissions standards, EPA could order a

mandatory recall. 42 U.S.C. 7541(c)(1).

      17.    EPA regulations separately established a process for a voluntary recall

“initiated and conducted by a manufacturer to remedy any emission-related defect.”

40 C.F.R. 85.1902(d).

      18.    In addition, once a manufacturer imported an engine into the United

States, a manufacturer could make a field fix to that engine to address emissions-

related issue. A field fix includes “any modification, removal, [replacement, or

addition] of an emission-control related component by a manufacturer or dealer, or

[any] revision by a manufacturer for implementation by dealers to specifications or



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maintenance practices for emission-control related components on vehicles that have

left the assembly line.” Office of Air & Waste Management, EPA, Mobile Source

Air Pollution Control Advisory Circular No. 2B, Field Fixes Related to Emission

Control-Related Components 2 (Mar. 17, 1975) (Circular).

      19.    U.S. Customs and Border Protection (“CBP”) manages and secures our

nation’s borders, in part by enforcing trade laws, facilitating compliant trade,

collecting revenue, and protecting the United States’ economy from harmful imports

and unfair trade practices. The CBP mission includes the enforcement of the

customs, immigration, and agriculture laws of the United States and hundreds of

other laws at the border on behalf of numerous federal agencies. Truthful

information from importers is essential to fulfillment of CBP’s mission. Importers

must provide documentation and information necessary to enable CBP to determine

whether merchandise may be released into United States commerce. 19 U.S.C. §

1484(a)(1)(A). An importer must use “reasonable care” to ensure the accuracy of

entry documents, 19 U.S.C. § 1484(a)(1), and declare under oath, among other

things, that all statements in the entry and documents filed with the entry are true

and correct. 19 U.S.C. § 1485(a)(3).

      20.    CBP’s ability to rely on accurate and truthful entry information

provided by importers is essential to fulfilling its mission of facilitating lawful trade

and enforcing the Clean Air Act at the border. Under the Clean Air Act, new motor



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vehicle engines offered for importation or imported in violation of mandated CoC

requirements are prohibited from entry. 42 U.S.C. § 7522(b)(2). CBP has also

promulgated regulations regarding compliance with federal emissions requirements,

which are “ancillary to the regulations of the [EPA] issued under the Clean Air

Act….” 19 C.F.R. § 12.73(a). Per CBP regulation, a heavy-duty engine with an

issued CoC may be deemed to comply with applicable emissions requirements, but

the engines must “in their condition as imported [be] covered by an EPA certificate

of conformity and . . . bear the manufacturer’s label showing such conformity and

other EPA-required information.” 19 C.F.R. § 12.73(b)(1) (emphasis added). As

with the dictate of the Clean Air Act, CBP regulations provide that the importation

of heavy-duty engines otherwise than in accordance with CBP and EPA regulations

is prohibited. 19 C.F.R. § 12.73(m). As such, while CBP may accept the issuance of

a CoC as evidence of EPA compliance, non-compliant engines that violate EPA

regulations are still prohibited from entry.

      21.    The California Air Resources Board (“CARB”) (together with EPA,

“U.S. regulators”) issued its own certificates, called executive orders, for the sale of

motor vehicles in the State of California. To obtain such a certificate, the

manufacturer was required to satisfy the standards set forth by the State of

California, which were equal to or more stringent than those of EPA. Manufacturers

could not sell motor vehicle engines in California without first obtaining an annual



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executive order from CARB.

      22.    As part of the application for a certification process, manufacturers

often worked in parallel with EPA and CARB. To obtain a CoC from EPA,

manufacturers were also required to demonstrate that the heavy-duty diesel engines

were equipped with an on-board diagnostic (“OBD”) system capable of monitoring

emissions-related systems or components. Manufacturers could demonstrate

compliance with California OBD standards to meet federal requirements. CARB

reviewed applications from manufacturers to determine whether their OBD systems

complied with California OBD standards, and CARB’s conclusion would be

included in the application the manufacturer submitted to EPA.

      23.    EPA retained the authority to void a CoC under specific circumstances,

including where the manufacturer knowingly submitted false or inaccurate

information, or knowingly rendered test data inaccurate or invalid, in applications

for certification. 40 C.F.R. § 1065.2(c).

      24.    After receipt of a CoC, manufacturers such as HML had a continuing

obligation to report emission-related defects whenever the manufacturer determined

that an emission-related defect may affect a certain percentage of their vehicles. The

emission-related defect information report (“EDIR”) served two key functions. First,

it encouraged manufacturers to identify emission-related defects early and to

promptly conduct voluntary recalls to remedy those defects that warranted action.



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Second, EDIRs provided EPA with an early warning that a vehicle or engine class

is at risk of failing to perform as described in the CoC and required by emission

standards.

      25.    The Department of Transportation (“DOT”) had the authority to

promulgate fuel economy standards for commercial heavy-duty on-road vehicles

and work trucks through 49 U.S.C. § 32902(b)(1)(C) and (k). DOT established test

methods, measurement metrics, fuel consumption standards, and compliance and

enforcement protocols for heavy-duty vehicles, implemented by the National

Highway Traffic Safety Administration (“NHTSA”).

      26.    NHTSA’s implementing regulations were designed to conserve fuel by,

among other things, establishing maximum levels for fuel consumption and

increasing fuel efficiency of on-road vehicles with heavy-duty diesel engines.

      27.    As part of the process of obtaining a CoC previously described,

applicable NHTSA regulations required that manufacturers, such as HML, provide

fuel consumption values for each MY to NHTSA “through the EPA database.” 49

C.F.R. § 535.8(a)(2); see also 49 C.F.R. § 535.8(c) (requiring applications of CoCs

to be submitted through this database, “including both GHG emissions and fuel

consumption information for each given model year”). This electronic database was

designed to be the “single point of entry for all information required,” with “both

agencies [having] access to the information.” 49 C.F.R. § 535.8(a)(2).



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      28.   NHTSA regulations further made clear that NHTSA would receive

information from EPA as specified in 40 C.F.R. §§ 1036.755 and 1037.755, 49

C.F.R. § 535.8(i), and incorporated the requirement that emissions testing be

performed in Part 1065-compliant cells. 1

      29.   NHTSA regulations specified different fuel consumption standards

based on the type of vehicle or engine and MY. With regards to heavy-duty engines,

fuel consumption standards were expressed in gallons per 100 horsepower-hour. 49

C.F.R. § 535.5(d). Each category of heavy-duty engine was required to have a fuel

consumption value below the number enumerated in 49 C.F.R. § 535.5(d). In

determining the applicable standards and compliance, manufacturers were advised

to “use the same options they use to comply with EPA in [40 C.F.R. § 1036.108] in

terms of grouping engines . . ..” Id. Mandatory compliance with fuel consumption

standards began with MY 2017 for heavy-duty diesel vehicles and engines. As

relevant here, HML was required to submit values for Steady-State Fuel

Consumption and Combined Transient Fuel Consumption.




1
 40 C.F.R. § 1065 governs “all aspects of engine testing, including the equipment
specifications, calibrations, calculations, and other protocols and procedural
specifications needed to measure emissions.” 40 C.F.R. § 1065.1(e). In so doing,
Part 1065 sets an industry-wide standard for uniform, accurate, and precise data
collection with regard to the measurement of exhaust emissions from vehicles and
engines and requires the use of test cells that are compliant with such standards.

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                          FACTUAL BACKGROUND

      30.    HML designed, manufactured, and tested engines for the Japanese and

global market, including both non-road and on-road heavy-duty diesel engines.

HML established a business group, Powertrain Evaluation and Engineering (“PTE”),

which was responsible for running emissions tests and generating test data for CoC

applications. Prior to April 2017 and after June 2020 through November 2022, PTE’s

management hierarchy, including senior management oversight, was from top to

bottom as follows: Senior Managing Officer, Managing Officer/Senior General

Manager, General Manager, Assistant General Manager, Deputy General Manager,

Group Manager, and Person in Charge. From April 2017 through June 2020, an

Executive Vice President position was at the top of the hierarchy.

      31.    Between 2009-2019, PTE’s U.S. on-road engine work was divided into

multiple groups, including a group responsible for emissions testing and another

group responsible for OBD calibration and testing.

      32.    PTE was responsible for both calibrating engines and for conducting

certification tests to determine if those same engines met regulatory requirements.

      33.    PTE did not provide the information, including testing results, directly

to U.S. regulators. Instead, HML established another business group, Vehicle

Regulatory Compliance Department (“VRC”), which was responsible for compiling

CoC applications and submitting them electronically to U.S. regulators.



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      34.    HML also established the Customer Quality Engineering Division

(“CQE”), which was responsible for recalls and defect reporting. CQE determined

when and what was reported to U.S. regulators, through VRC or HMM, after an

engine had been certified. HML executives also participated in meetings about

whether to conduct recalls and to issue stop sales.

      35.    HMM established a separate business group, the Vehicle Regulatory

Compliance – Liaison group (“VRC-L”), at HMM’s Novi, Michigan location, to act

as a liaison with regulators and to help explain U.S. regulations to HML personnel.

      36.    No later than 2009, faced with limited resources and pressure to secure

CoCs on schedule for engines destined to the U.S. market, engineers within PTE at

HML employed a variety of illicit short-cuts, including falsifying/altering data,

skipping required testing, concealing the fact that certain OBD monitors were non-

functioning, and concealing and omitting material facts in applications and

communications to U.S. federal and state regulators. This intensified, among other

things, the practice PTE engineers referred to internally as “licking the pencil,” a

practice that multiple PTE engineers stated was in place since the 1990s. In essence,

some HML employees made up or altered test results and submitted, and caused to

be submitted, the fabricated data in the applications for CoCs. In addition, beginning

no later than 2012 and continuing through 2019, and with the knowledge of their

supervisors, PTE engineers routinely wrapped insulation around the after-treatment



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system to increase the temperature, which reduced NOx emissions during

certification testing, including baseline emissions testing and OBD demonstration

emissions testing. PTE engineers did so despite the knowledge that insulation was

not present on their production vehicles. HML did not disclose its use of insulation

to reduce NOx emissions to EPA or CARB.

      37.    In October 2010, Hino’s outside consultants on North American engine

certification and OBD expressed serious concerns about Hino’s U.S. certification

process. The consultants noted: insufficient review of final certification documents,

repeated deficiencies, incomplete reporting, submitted content being changed

without adequate explanation, consultant input being neglected and employees

acting arbitrarily, possible forgery of OBD test data, lack of understanding of OBD

regulations, lack of appreciation for the importance of complying with OBD

regulations, and insufficient planning/preparation for the certification process. The

consultants’ concerns were forwarded to several PTE employees, Co-Conspirator 1

(who was the Group Manager of PTE, and later promoted to Deputy General

Manager in 2011 and then to Assistant General Manager in 2014, as well as the VRC

employee responsible for submitting certification applications to EPA.

      38.    In October 2015, one of the same outside OBD consultants for Hino

expressed serious concerns about Hino’s OBD development process, noting that the

company’s MY2016 “information is inaccurate and incomplete” and that the OBD



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development process needed to change. The consultant again shared his concerns

with, among other employees, multiple VRC employees, including a Senior Vice

President within VRC-L, and two PTE engineers, including Co-Conspirator 1. Hino

did not heed the warnings of its consultants, nor did it take corrective actions such

as conducting an audit or creating a compliance program, and PTE engineers

continued employing the illicit short-cuts noted above.

      39.    In late 2016, Hino hired Witness A as a Senior Vice President at HMM

to support the certification process, understand regulatory trends, and report to

HML’s certification team. Between 2017 and 2019, Witness A repeatedly warned

HML and HMM executives about failures to report emission defects, certification

issues, and problems with OBD development, including paper monitors (a term that

HML engineers used to refer to a monitor that appeared to work on paper but did not

function on the road) that could lead to a stop sale order from regulators with respect

to the J05E and J08E engines or delays in the certification of future A09C engines.

Witness A also recommended organizational and process changes. Despite the

warnings, Hino continued to submit applications for CoCs for non-road and on-road

heavy-duty diesel engines.

      40.    In October 2017, Hino employees met with CARB and EPA about two

monitors that did not work, the DEF Quality Monitors #1 and #2, both of which Hino

falsely claimed were only impacted for MY2015 through MY2017. Hino disclosed



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that one monitor did not satisfy the SCR [selective catalytic reduction] guidelines

and impacted its J08E and J05E engines. Hino further disclosed that the second

monitor did not comply with OBD regulations and impacted its J05E engine. U.S.

regulators concluded it was an emissions defect that required a stop sale. Hino filed

an EDIR on November 3, 2017. This is the last EDIR Hino filed between November

3, 2017, and June 30, 2021.

      41.    On October 27, 2017, HMM’s President emailed HML senior

management (including an Executive Vice President, Senior Managing Officer, and

general managers) an attachment describing internal concerns about multiple

regulatory and U.S. certification issues, including non-compliant OBD monitors,

incorrect Infrequent Regeneration Adjustment Factor (“IRAF”) numbers, and a

possible defeat device. Regarding OBD, the attachment warned that the high-flow

EGR [exhaust gas recirculation] monitor was a “paper monitor” that did not appear

to be running in the real world, which could lead to a suspension of sales. The

attachment warned that if CARB found an invalid monitor of this type, it could be

considered fraud. The attachment also warned that the OBD monitors associated

with diagnostic trouble codes P229F, P2201, and P04DA did not work in the real

world. Regarding Hino’s reported IRAF, the attachment noted that Hino had made

mistakes for the last three years, which were a “red flag” to EPA, and that a

confirmatory test had been threatened. The attachment also highlighted that the DEF



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reduction at elevation AECD could be considered a defeat device.

         42.    By June 2018, several Hino engineers knew that Hino’s engines

contained other OBD monitors that did not function and otherwise did not comply

with regulations. Those monitors were designed to ensure compliance with emission

standards and included, at a minimum:

         Monitor                                   Emissions-Related Nature
        P2BAE                                  NOx
        (SCR Feedback Monitor)
        P24A0 and P24A1                        PM
             2
        (DPF Feedback Monitor)
        P2201                                  NOx
        (Upstream NOx Sensor Offset Monitor)
        P229F                                  NOx
        (Downstream NOx Sensor offset Monitor)
        P04DA                                  NOx
        (High Flow EGR Monitor)


         43.    On or about June 25, 2018, the conspirators, including HML

executives, made the decision to withhold from regulators problems with the DPF

Feedback Monitor “because there [was] too much risk in reporting it to the

authorities as is.” At the time of this decision, the conspirators knew that the non-

compliance dated back to MY2010.

         44.    On September 28, 2018, Hino’s outside consultant recommended that

the company file emission-related defect reports for non-functioning OBD monitors


2
    Diesel Particulate Filter.

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as required by U.S. regulations, writing:

      In some of our earlier meetings / conversations, there was some talk of
      meeting with EPA. If it has not been done already, I recommend Hino
      prepare and submit Emission Defect Information Report(s) (EDIRs) to
      EPA as soon as practical. If EDIRs have already been submitted,
      consider submitting updated information to EPA so that the information
      available to both CARB and EPA are in synch. [sic] I expect you are
      aware that EPA’s emission defect reporting regulations expect
      manufacturers to submit EDIRs once it has been determined that
      defects exsit [sic], even if remedial action(s) are not defined or planned.
      Any products which are not eligible for OBD deficiency or are
      anticipated to be included in a recall should be covered by the EDIR,
      i.e. MY15 through most of MY18 (prior to Running Change
      implementation).


      45.    In or around June 2018, EPA’s Office of Transportation and Air Quality

(“OTAQ”) selected a Hino on-road diesel engine for compliance testing. It failed.

Hino engaged a third party to re-run the testing, and the engine passed.

      46.    No later than November 2018, senior leadership at HML knew that PTE

engineers had failed to use Part 1065-compliant test cells in connection with all

emissions testing for U.S. CoCs as required by U.S. federal regulations. In fact,

HML ran most of its U.S. on-road engine certification tests in non-Part 1065

compliant cells (including emissions, durability, and OBD demo testing).

      47.    On July 19, 2019, Hino advised regulators via letter that certain

emissions tests were not performed in Part 1065-compliant test cells as required by

the regulations, after previously disclosing potential Part 1065 non-compliance

issues in a meeting with EPA and CARB on June 6, 2019.

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      48.    On March 4, 2022, HML publicly acknowledged misconduct in

connection with emissions and fuel economy representations in its certification

applications relating to vehicle engines for the Japanese market.

                   HINO HEAVY-DUTY DIESEL ENGINES
                      SOLD IN THE UNITED STATES

      49.    Hino sold, offered for sale, introduced into commerce, delivered for

introduction into commerce, imported into the United States, or caused the foregoing

actions (collectively, “sold in the United States”) the following non-road and on-

road heavy-duty diesel engines, designed and tested by PTE (“Subject Engines”):

             a.    J08E-VB, MY 2010 through 2019

             b.    J08E-VC, MY 2010 through 2015

             c.    J08E-WU, MY 2016 through 2019

             d.    J05E, MY 2012 through 2019

             e.    A09C, MY 2019

             f.    J08E-TM in MY 2010

             g.    J08E-UM in MY 2010 and 2011

             h.    J08E-UV in MY 2011 through 2013

             i.    J08E-VV in MY 2014 through 2019

             j.    J08E-YD in MY 2019

             k.    J08E-WV in MY 2017 through 2019

             l.    E13C-YM in MY 2019

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             m.    E13C-VV in MY 2011 through 2013

             n.    E13C-UV in MY 2010

             o.    J05E-TA in MY 2010 and 2011

             p.    J05E-TB in MY 2010

             q.    J05E-TJ in MY 2012 through 2014

             r.    J05E-TK in MY 2011 through 2013

             s.    J05E-UM in MY 2014 through 2019

             t.    J05E-UN in MY 2014 through 2019

             u.    J05E-VA in MY 2019

             v.    J05E-YD in MY 2019

             w.    J05E-VB in MY 2019

             x.    P11C-UN in MY 2010

             y.    P11C-UP in MY 2010

             z.    P11C-VC in MY 2011 through 2013

             aa.   P11C-VN in MY 2015 through 2019

             bb.   E13C-YM in MY 2019

      50.    VRC prepared and submitted the applications (the “Applications”) for

CoCs and executive orders (collectively, “Certificates”) for Subject Engines to U.S.

regulators to obtain authorization to import the engines into the United States, and

to sell the engines installed in Hino trucks. PTE performed all testing related to the



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Subject Engines.

      51.    The Applications to EPA were accompanied by a signed statement by

a VRC representative and/or PTE representative, attesting that: (1) the engines had

been tested in compliance with applicable test procedures, using, among other

things, the equipment required under 40 C.F.R. Parts 86 and 1065 and/or applicable

California test standards; (2) based on those tests, the engines conformed to the

requirements of 40 C.F.R. Parts 86 and 1065; and (3) the engines were as described

in the Applications and complied with all requirements of 40 C.F.R. Parts 86, 89,

1065, 1036, 1039, 1068 and/or applicable California regulations as well as the Clean

Air Act. After 2016, the VRC employee further attested that, under penalty of law,

the information provided in the application package was, to the best of his/her belief

and knowledge, true, accurate and complete. The VRC employee further

acknowledged the potential penalties for submitting false information.

      52.    Based on the false representations made by HML employees in the

Applications for the Subject Engines, EPA and CARB issued Certificates for these

engines, allowing the Subject Engines to be imported and sold in the United States.

      53.    Hino represented and caused representations to be made to its U.S

customers, U.S. dealers, U.S. regulators, and others that the Subject Vehicles met

the U.S. emission standards identified in Paragraph 48 above.




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                                OFFENSE CONDUCT

      54.      From at least 2009 and continuing through at least November 2022, the

exact dates unknown, in Oakland County, within the Eastern District of Michigan,

and elsewhere, defendant Hino Motors, Ltd., by and through its employees acting

within the scope of their employment and at least in part, for the benefit of Hino

Motors, Ltd., along with others, both known and unknown to the United States, did

willfully, knowingly, and deliberately combine, conspire, and confederate and did

agree to:

            a. defraud the United States by impairing, impeding, obstructing, and

               defeating a lawful function of the federal government, that is, EPA’s

               function of implementing and enforcing emissions standards for air

               pollutants for new motor vehicles under the Clean Air Act, by deceitful

               and dishonest means, in violation of 18 U.S.C. § 371;

            b. defraud the United States by impairing, impeding, obstructing, and

               defeating a lawful function of the federal government, which it

               conducted through NHTSA, as to the enforcement of fuel consumption

               standards for heavy-duty diesel engines, by deceitful and dishonest

               means, in violation of 18 U.S.C. § 371;

            c. violate the Clean Air Act, by making, and causing to be made, false

               material statements, representations, and certifications in, and omitting



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           and causing to be omitted material information from, notices,

           applications, records, reports, plans, and other documents required

           pursuant to the Clean Air Act to be filed and maintained, in violation of

           42 U.S.C. § 7413(c)(2)(A);

        d. commit wire fraud, that is, knowingly, willfully, and with the intent to

           defraud, having devised and intending to devise a scheme and artifice

           to defraud and to obtain money and property by means of materially

           false and fraudulent pretenses, representations, and promises, transmit

           and cause to be transmitted by means of wire, radio, and television

           communication, writings, signs, signals, pictures, and sounds in

           interstate and foreign commerce for the purpose of executing such

           scheme and artifice in violation of 18 U.S.C. § 1343; and

        e. smuggle goods into the United States, that is, fraudulently and

           knowingly, importing and bringing into the United States, any

           merchandise contrary to law and receiving, concealing, selling, and in

           any manner facilitating the transportation, concealment, and sale of

           such merchandise after importation, knowing the same to have been

           imported or brought into the United States contrary to law, in violation

           of 18 U.S.C. § 545.




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                            Purpose of the Conspiracy

      55.    The purpose of the conspiracy was for HML, by and through its

employees, acting within the scope of their employment as agents and employees of

HML, and at least in part, for the benefit of HML, along with others both known and

unknown to the United States, to unlawfully enrich the company and themselves,

by, among other things, (a) deceiving U.S. regulators in order to obtain the necessary

certificates of conformity and executive orders to import and to sell the Subject

Engines in the United States; (b) installing the Subject Engines into trucks sold in

the United States knowing that the engines did not meet U.S. emissions standards;

(c) deceiving U.S regulators and U.S. customers by making false and misleading

representations about the Subject Engines; and (d) concealing these facts from U.S.

regulators and U.S. customers.

                      Manner and Means of the Conspiracy

      56.    From no later than 2009 until at least November 2022, the exact dates

unknown, HML, by and through its employees, acting within the scope of their

employment as agents and employees of HML, and at least in part, for the benefit of

HML, along with others both known and unknown to the United States, agreed to

deceive U.S. regulators, U.S. customs officials, and U.S. customers about the

emissions of pollutants from the Subject Engines and OBD functionality in the

Subject Engines in the following ways:



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        a. Altered and falsified emissions test data: From at least 2010 through

           2019, the conspirators regularly falsified/altered low-hour Federal Test

           Procedure (FTP) certification test data submitted to U.S. regulators and

           failed to conduct testing in cells compliant with the regulatory

           requirements of 40 C.F.R. § 1065;

        b. Failed to perform durability tests: From at least 2010 through 2019, the

           conspirators failed to perform proper long-term durability tests for any

           U.S. engine by failing to use Part 1065-compliant test cells,

           misreporting dates of tests, misreporting hours on engines, and/or

           changing the data, and by wrapping insulation around the after-

           treatment system to reduce NOx emissions and failing to disclose the

           modification in the accompanying application;

        c. Falsified information relevant to OBD monitors (on-road engines

           only): Beginning no later than the 2009 application for MY 2010, the

           conspirators listed certain OBD monitors as being operational, knowing

           that they were “paper monitors,” that is, not functioning and knowing

           that OBD demonstration tests were not done in compliance with

           regulations and data was altered/fabricated by what was termed

           internally as “licking the pencil;”

        d. Failed to disclose Auxiliary Emissions Control Devices: From at least



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               MY2010 through at least MY2019, the conspirators failed to disclose

               AECDs, which altered the functioning of an engine’s emissions control

               system, as required by regulation; and

            e. Use of Carry-Over Data: The conspirators repeatedly relied on falsified

               carryover data in Applications, knowing such data was invalid, to

               secure Certificates.

      57.      The conspirators then caused these false and misleading Applications

for Certificates, as well as amended Applications, to be submitted to U.S. regulators

by VRC, knowing that EPA, CBP, and NHSTA would rely on the information in

approving the Certificates, allowing the engines to be imported into the United

States, and in calculating fuel economy.

      58.      After receiving the false, fraudulent, and misleading representations,

U.S. regulators issued Certificates to which HML’s engines were not entitled.

      59.      Between 2016 and 2018, the conspirators failed to conduct applicable

emissions testing in Part 1065-compliant cells.

      60.      For MY2017 and MY2018, the conspirators submitted, or used, false

and fraudulent carbon dioxide (CO2) emissions test data which, in turn, resulted in

false values being submitted for the Steady-State Fuel Consumption and Combined

Transient Fuel Consumption of HML’s heavy-duty diesel engines.

      61.      For MY2017 and MY2018, the conspirators falsely certified that the



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information in the applications, including the data used to show that their engines

complied with applicable fuel consumption standards, was true. Hino submitted the

applications through the use of interstate wires.

      62.      Hino then utilized these improperly obtained Certificates to illicitly

import non-conforming engines into the United States and subsequently sell those

same engines in interstate commerce and through the use of interstate wires.

                                      Overt Acts

      63.      In furtherance of the conspiracy and to achieve its objects and purpose,

at least one of the conspirators committed and caused to be committed, in the Eastern

District of Michigan, and elsewhere, at least one of the following overt acts, among

others:

            a. On or about September 4, 2009, and on other occasions thereafter, up

               to and including February 4, 2021, the conspirators submitted and

               caused to be submitted by wire altered and fabricated emissions data in

               connection with their Applications for Certificates and amended

               Applications.

            b. On or about September 4, 2009, and on other occasions thereafter, up

               to and including February 4, 2021, the conspirators submitted and

               caused to be submitted by wire Applications for Certificates and

               amended Applications to be certified as being in compliance with U.S.



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           regulations, knowing that the engines contained non-functioning OBD

           monitors.

        c. On or about September 4, 2009, and on other occasions thereafter, up

           to and including February 4, 2021, the conspirators submitted and

           caused to be submitted by wire Applications for Certificates and

           amended Applications to be certified as being in compliance with U.S.

           regulations, knowing that they failed to perform emissions tests in Part

           1065-compliant cells.

        d. On or about September 4, 2009, and in subsequent Applications, the

           conspirators failed to disclose at least two AECDs: (1) hydrocarbon

           poisoning control; and (2) DEF dosing at idle.

        e. On or about February 9, 2011, the conspirators received a question from

           CARB about a discrepancy in the reported NOx emissions between the

           certification test and durability test results submitted to CARB. On

           April 12, 2011, the conspirators prepared a response for CARB, falsely

           claiming that the discrepancy was due to variation in engine coolant

           temperature. That false response was sent to CARB on or about April

           13, 2011.

        f. In May 2012, two co-conspirators in PTE’s OBD group exchanged

           emails   about   problems    with   baseline     emissions   and   OBD



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           demonstration certification tests for the MY2013 J05E engine. One

           conspirator wrote on May 7, 2012, that the engine was “nowhere near

           the US10 application value,” and that “significant efforts would have

           to be made in order to reduce the NOx.” The same conspirator

           suggested that, if the physical setup could not be changed, “then for the

           time being, I think you can get away with changing the post temperature

           increase start temperature map (MTHATCBDLN_D)[.]” On May 31,

           2012, the other conspirator followed up stating that they had replaced

           the engine catalyst and ATC pipe but “we could not resolve the

           emission issue.” The conspirator concluded, “I think we have no choice

           but to lick the pencil for the application data.” Hino submitted “pencil

           licked” or manipulated emissions results in its U.S. certification

           applications for the MY2013 J05E engine.

        g. On or about August 22, 2014, the co-conspirators in the OBD testing

           group emailed each other regarding instructions from their supervisor,

           then-PTE Group Manager/Co-Conspirator 2, to skip NTE testing

           because “we don’t have time.” One of the co-conspirators then wrote,

           “If that’s so, then aren’t the FTP and RMC [tests] unnecessary too? If

           we are ‘licking’ all of them anyway, isn’t it unnecessary?”

        h. On November 4, 2015, Co-Conspirator 2 emailed other engineers,



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           including Co-Conspirator 1, asking if they had emissions data regarding

           a specific OBD monitor for the J08E engine. Co-Conspirator 2 wrote,

           “I have heard that there are none, so engine-out or estimated values are

           acceptable. I’m going to lick a pencil…” Co-Conspirator 2 was sent a

           PowerPoint which stated that the engine did not meet a specific CARB

           monitor exemption because NOx emissions limits were exceeded. On

           November 6, 2015, Co-Conspirator 2 responded, “Thank you very

           much. For the insufficient data, I am going to lick a pencil, though…”

        i. On or about September 9, 2016, a conspirator caused fabricated

           emissions data for the MY2017 J05E engine to be submitted to EPA.

           The conspirators caused the false data to be carried over to the MY2018

           J05E engine application for a CoC.

        j. On or about November 1, 2016, in response to CARB’s request for an

           AECD Defeat Device Statement of Compliance for applicable engines,

           Co-Conspirator 1 signed statements on behalf of HML, affirming that

           all AECDs had been declared and described in the application, knowing

           such statement to be false.

        k. On or about November 2, 2016, Co-Conspirator 1 caused the false

           AECD Defeat Device Statement of Compliance to be submitted to

           CARB.



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        l. On or about October 9, 2017, Co-Conspirator 2 instructed testing

           engineers to modify calibrations during testing to make test results

           appear to meet or exceed applicable standards. When test results still

           exceeded NOx standards, Co- Conspirator 2 instructed the testing

           engineers “we have no choice but to move forward. (At the end, licking

           the pencil and correction factor…?)”.

        m. From on or about July 2015 to September 2017, Co-Conspirator 2

           modified the results of OBD emissions testing to make results appear

           to meet emissions standards when in fact the results exceeded those

           standards. In multiple cases, testing results were modified from failing

           “measured” results to “pencil licked” or “licked” results which

           appeared to pass U.S. emissions standards. On or about October 23,

           2015, September 13, 2017, and other occasions, the fabricated results

           were provided to CARB and/or EPA.

        n. In September 2018, to conceal their non-compliant engines and non-

           functioning OBD monitors from regulators, the conspirators decided

           not to file required emission-related defect reports.

        o. In November 2018, in response to a request from CARB for all

           maintenance records for test cells used to conduct testing for the

           MY2019 A09C engine, the conspirators (including the Senior General



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           Manager that oversaw PTE) intentionally failed to produce a complete

           set of such logs and calibration data. The conspirators did so to conceal

           the use of non-Part 1065-compliant cells used for testing, in violation

           of applicable regulations, and one conspirator advised others, “[i]t was

           the councilor’s decision that, for CARB, it would be troublesome for

           any bench names other than S33 to be mentioned.” At the time, S33

           was HML’s only Part 1065-compliant bench.

        p. On November 27, 2018, the conspirators falsely claimed to CARB in

           connection with a voluntary recall that HML’s “SCR feedback monitor

           may not robustly detect real world failures,” when, in fact, the

           conspirators knew that the monitor was designed not to trigger the

           malfunction indicator light, that is, it would always register a passing

           result and never detect failure. In that same communication, the

           conspirators falsely claimed that the SCR feedback monitor issue

           impacted J08E MY2015 to MY2018 engines, when in fact the

           conspirators knew that the non-functioning monitor dated back to

           MY2010.

        q. Between October 2017 and June 2019, Hino, by and through Witness

           A, met with CARB and/or EPA on at least twelve occasions. At each

           meeting, Hino failed to disclose to regulators that its engineers: (1)



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           altered and falsified emissions data; (2) failed to conduct testing in

           accordance with 40 C.F.R. Part 1065; (3) falsified information relevant

           to OBD monitors; and (4) failed to disclose AECDs.

        r. Between November 3, 2017, and June 30, 2021, the conspirators failed

           to file an emission-related defect report for the monitors that did not

           function and otherwise comply with regulations designed to ensure

           compliance with emissions standards.

        s. For each of the on-road engines listed and, on the dates set forth below,

           the conspirators caused EPA to issue a CoC knowing that the

           application contained materially false representations and/or material

           omissions, in addition to the fact the engines were tested in test cells

           that failed to comply with Part 1065:

Engine Model Year        CoC Issued             Nature of the Materially False
Engine Family            (on or about)          Representation and/or Material
                                                Omission

J08E-VB MY2010           July 23, 2010          -Falsified data
AHMXH07.7JVB
                                                -Undisclosed DEF limiting AECD
J08E-VC MY2010           June 23, 2010          -Falsified data
AHMXH07.7JVC
                                                -No supporting data as required by
                                                regulation

                                                -Undisclosed DEF limiting AECD




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Engine Model Year       CoC Issued          Nature of the Materially False
Engine Family           (on or about)       Representation and/or Material
                                            Omission

J08E-VB MY2011          October 25, 2010    -Carry-over of falsified/altered data
BHMXH07.7JVB
                                            -Undisclosed DEF limiting AECD
J08E-VC MY2011          October 25, 2010    -Carry-over of
BHMXH07.7JVC                                falsified/altered data

                                            -No supporting data as required by
                                            regulation

                                            -Undisclosed DEF limiting AECD
J08E-VB MY2012          December 27, 2011   -Carry-over of falsified/altered data
CHMXH07.7JVB
                                            -No supporting data as required by
                                            regulation

                                            -Undisclosed DEF limiting AECD
J08E-VC MY2012          December 27, 2011   -Carry-over of falsified/altered data
CHMXH07.7JVC
                                            -No supporting data as required by
                                            regulation

                                            -Undisclosed DEF limiting AECD
J05E MY2012             March 3, 2011       -Durability test data altered (altered
CHMXH05.1JTP                                data and test dates)

                                            -Improper test methods

                                            -No supporting data as required by
                                            regulation
                                            -Undisclosed DEF limiting AECD
J08E-VB MY2013          November 28, 2012   -Carry-over of falsified/altered data
DHMXH07.7JVB
                                            -Undisclosed DEF limiting AECD



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Engine Model Year       CoC Issued          Nature of the Materially False
Engine Family           (on or about)       Representation and/or Material
                                            Omission

J08E-VC MY2013          December 5, 2012    -Carry-over of falsified/altered data
DHMXH07.7JVC
                                            -Undisclosed DEF limiting AECD
J05E MY2013             December 21, 2012   -Carry-over of
DHMXH05.1JTP                                falsified/altered data

                                            -Undisclosed DEF limiting AECD
J08E-VB MY 2014         November 13, 2013   -Falsified data
EHMXH07.7JVB
                                            -No supporting data as required by
                                            regulation

                                            -Undisclosed DEF limiting AECD
J08E-VC MY 2014         November 13, 2013   -Falsified data
EHMXH07.7JVC
                                            -No supporting data as required by
                                            regulation

                                            -Undisclosed DEF limiting AECD
J05E MY 2014            November 13, 2013   -Carry-over of falsified/altered data
EHMXH05.1JTP
                                            -Undisclosed DEF limiting AECD
J08E-VB MY 2015         November 26, 2014   -Carry-over of falsified/altered
FHMXH07.7JVB                                data.

                                            -Field Fix data falsified.

                                            -Undisclosed DEF limiting AECD
J08E-VC MY 2015         November 26, 2014   -Carry-over of falsified/altered
FHMXH07.7JVC                                data.

                                            -Field Fix data falsified.

                                            -Undisclosed DEF limiting AECD


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Engine Model Year       CoC Issued          Nature of the Materially False
Engine Family           (on or about)       Representation and/or Material
                                            Omission

J05E MY 2015            November 12, 2014   -Durability test data altered (altered
FHMXH05.1JTP                                data and test dates)

                                            - No supporting data as required by
                                            regulation

                                            -Improper test method.

                                            -Undisclosed DEF limiting AECD
J08E-VB MY 2016         November 20, 2015   -Carry-over of falsified/altered data
GHMXH07.7JVB
                                            -Undisclosed DEF limiting AECD
J08E-WU MY 2016         November 20, 2015   -Falsified data
GHMXH07.7JWU
                                            -No supporting data as required by
                                            regulation

                                            -Undisclosed DEF limiting AECD
J05E MY 2016            November 20, 2015   -Carry-over of falsified/altered data
GHMXH05.1JTP
                                            -Undisclosed DEF limiting AECD
J08E-VB MY 2017         November 17, 2016   -No FTP data; durability testing
HHMXH07.7JVB                                altered

                                            -Undisclosed DEF limiting AECD
J08E-WU MY 2017         November 17, 2016   -Falsified and altered data
HHMXH07.7JWU
                                            -No supporting data as required by
                                            regulation

                                            -Undisclosed DEF limiting AECD




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Engine Model Year       CoC Issued          Nature of the Materially False
Engine Family           (on or about)       Representation and/or Material
                                            Omission

J05E MY 2017            November 17, 2016   -Altered data and test dates
HHMXH05.1JTP
                                            -No supporting data as required by
                                            regulation

                                            -Undisclosed DEF limiting AECD
J08E-VB MY 2018         November 29, 2017   -Falsified data
JHMXH07.7JVB
                                            -No supporting data as required by
                                            regulation

                                            -Used insulation and did not
                                            disclose in application

                                            -Undisclosed DEF limiting AECD
J05E MY 2018            November 29, 2017   -Falsified data
JHMXH05.1JTP
                                            -No supporting data as required by
                                            regulation

                                            -Undisclosed DEF limiting AECD
J08E-VB MY 2019         March 6, 2019       -Carry-over of falsified/altered
KHMXH07.7JVB                                data.

                                            -No supporting data as required by
                                            regulation

                                            -Undisclosed DEF limiting AECD
J05E MY 2019            March 5, 2019       -Carry-over of falsified/altered data
KHMXH05.1JTP
                                            -No supporting data as required by
                                            regulation

                                            -Undisclosed DEF limiting AECD




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Engine Model Year       CoC Issued             Nature of the Materially False
Engine Family           (on or about)          Representation and/or Material
                                               Omission

A09C MY 2019            March 25, 2019         -Durability testing data altered;
KHMXH08.9AVF                                   failed to use 1065 compliant test
                                               cell

                                               -Undisclosed DEF limiting AECD

        t. Beginning no later than 2010, and continuing up through and including

           2021, the conspirators imported and caused to be imported in the United

           States at least the following number of on-road heavy-duty diesel truck

           engines without a valid CoC for those engines:

                                         Approx.
                    Year of Import      Number of
                                         Engines
                                        Imported
                               2010             233
                               2011            1551
                               2012            4444
                               2013            5737
                               2014            5563
                               2015           11869
                               2016           12010
                               2017           10451
                               2018           12336
                               2019           19261
                               2020             988
                               2021               2
                    Unconfirmed              20,595
                    Import Date




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        u. Beginning in 2010, and continuing up through and including November

           2022, the conspirators sold and caused to be sold in the United States

           at least the following number of on-road heavy-duty diesel trucks with

           non-conforming engines:

                                     Approx.
                     Year of Sale   Number of
                                   Engines Sold
                              2010         1860
                              2011         4999
                              2012         7532
                              2013         7341
                              2014         9561
                              2015        11641
                              2016        11821
                              2017        13484
                              2018        14921
                              2019        14579
                              2020         6072
                              2021          316
                              2022             6
                          TOTAL         104,134


        v. On or around April 9, 2021, with knowledge of the fraud in connection

           with the Applications, the conspirators made the decision to stop taking

           new orders for trucks equipped with HML engines, but to continue

           fulfilling existing orders knowing that the trucks contained non-

           conforming engines.

        w. Between April 9, 2021, and May 21, 2021, the conspirators caused to

           be sold in the United States, an additional 36 trucks, all with non-

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              conforming engines.

           x. By August 18, 2021, the conspirators caused to be sold in the United

              States an additional 32 trucks, all with non-conforming engines.

           y. In December 2021, the conspirators caused to be sold in the United

              States another truck with a non-conforming engine.

           z. In November 2022, the conspirators caused to be sold in the United

              States another truck with a non-conforming engine.

      All in violation of 18 U.S.C. § 371.


                       FORFEITURE ALLEGATIONS
   (18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)—Criminal Forfeiture)

      1.      The allegations contained in Count 1 of this Information are re-alleged

and incorporated by reference as though fully set forth herein for the purpose of

alleging forfeiture against Hino Motors Ltd. pursuant to Title 18, United States

Code, Section 981(a)(1)(C), and Title 28, United States Code, Section 2461(c).

      2.      Pursuant to Title 18, United States Code, Sections 981(a)(1)(C)

together with Title 28, United States Code, Section 2461(c), upon being convicted

of the crime charged in Count 1 of this Information, the convicted defendant shall

forfeit to the United States any property, real or personal, which constitutes or is

derived from proceeds traceable to the commission of the offense.

      3.      Money Judgment: Property subject to forfeiture includes, but is not



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limited to, a forfeiture money judgment equal to $1,087,000,000 in United States

currency.

       4.    Substitute Property: The United States of America shall seek forfeiture

of substitute property pursuant to Title 21, United States Code, Section 853(p), as

incorporated by Title 28, United States Code, Section 2461(c).



DAWN N. ISON                                   TODD KIM
United States Attorney                         Assistant Attorney General
Eastern District of Michigan                   Environment & Natural Resources
                                               Division


s/Mark L. Chasteen                             s/Banumathi Rangarajan
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Assistant United States Attorney               Environmental Crimes Section


s/Andrew J. Yahkind
______________________________
ANDREW J. YAHKIND
Assistant United States Attorney
Eastern District of Michigan


Dated: January 15, 2025




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    8QLWHG6WDWHV'LVWULFW&RXUW                       &ULPLQDO&DVH&RYHU6KHHW &DVH1XPEHU
    (DVWHUQ'LVWULFWRI0LFKLJDQ

  127(,WLVWKHUHVSRQVLELOLW\RIWKH$VVLVWDQW86$WWRUQH\VLJQLQJWKLVIRUPWRFRPSOHWHLWDFFXUDWHO\LQDOOUHVSHFWV




   &RPSDQLRQ&DVH,QIRUPDWLRQ                                                           &RPSDQLRQ&DVH1XPEHU

   7KLVPD\EHDFRPSDQLRQFDVHEDVHGXSRQ/&U5 E                             -XGJH$VVLJQHG

                            <HV                 1R                                     $86$¶V,QLWLDOV $-<

           &DVH7LWOH86$Y Hino Motors, Ltd.

           &RXQW\ZKHUHRIIHQVHRFFXUUHG Washtenaw and elsewhere

           &KHFN2QH                   )HORQ\                                 0LVGHPHDQRU                                   3HWW\

                            ,QGLFWPHQW ✔ ,QIRUPDWLRQ QRSULRUFRPSODLQW
                            ,QGLFWPHQW   ,QIRUPDWLRQ EDVHGXSRQSULRUFRPSODLQW>&DVHQXPEHU                                  @
                            ,QGLFWPHQW   ,QIRUPDWLRQ EDVHGXSRQ/&U5 G [Complete Superseding section below].

  6XSHUVHGLQJ&DVH,QIRUPDWLRQ

  6XSHUVHGLQJWR&DVH1R                                                                      -XGJH


                     &RUUHFWVHUURUVQRDGGLWLRQDOFKDUJHVRUGHIHQGDQWV
                     ,QYROYHVIRUSOHDSXUSRVHVGLIIHUHQWFKDUJHVRUDGGVFRXQWV
                     (PEUDFHVVDPHVXEMHFWPDWWHUEXWDGGVWKHDGGLWLRQDOGHIHQGDQWVRUFKDUJHVEHORZ

                     'HIHQGDQWQDPH                                             &KDUJHV                      3ULRU&RPSODLQW LIDSSOLFDEOH 




   3OHDVHWDNHQRWLFHWKDWWKHEHORZOLVWHG$VVLVWDQW8QLWHG6WDWHV$WWRUQH\LVWKHDWWRUQH\RIUHFRUGIRU
   WKHDERYHFDSWLRQHGFDVH

            January 15, 2025                                            s/Andrew J. Yahkind
                      'DWH                                             Andrew J. Yahkind
                                                                        $VVLVWDQW8QLWHG6WDWHV$WWRUQH\
                                                                        :)RUW6WUHHW6XLWH
                                                                        'HWURLW0,
                                                                        3KRQH(313) 226- 9565
                                                                        )D[
                                                                        (0DLODGGUHVV andrew.yahkind@usdoj.gov
                                                                        $WWRUQH\%DU

    &RPSDQLRQFDVHVDUHPDWWHUVLQZKLFKLWDSSHDUVWKDW  VXEVWDQWLDOO\VLPLODUHYLGHQFHZLOOEHRIIHUHGDWWULDORU  WKHVDPH
  RUUHODWHGSDUWLHVDUHSUHVHQWDQGWKHFDVHVDULVHRXWRIWKHVDPHWUDQVDFWLRQRURFFXUUHQFH&DVHVPD\EHFRPSDQLRQFDVHV
HYHQWKRXJKRQHRIWKHPPD\KDYHDOUHDG\EHHQWHUPLQDWHG
                                                                                                                                            5/16
